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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                              )                 CHAPTER 7
                                    )
KELLIE MICHAEL KING,                )                 CASE NO: 15-53334-CRM
                                    )
      Debtor.                       )
___________________________________ )
KELLIE MICHAEL KING,                )
                                    )
      Movant,                       )
                                    )
v.                                  )                 CONTESTED MATTER
                                    )
MULTIBANK 2009-1 RES-ADC            )
VENTURE, LLC,                       )
                                    )
     Respondent.                    )

                        MOTION TO AVOID JUDICIAL LIEN
                   OF MULTIBANK 2009-1 RES-ADC VENTURE, LLC

       COMES NOW Kelly Michael King (“Debtor”) by and through undersigned counsel, and

files this “Motion to Avoid Judicial Lien of Multibank 2009-1 Res-Adc Venture LLC”

(“Respondent”) pursuant to 11 U.S.C. § 522 (f), and alleges as follows:

                                                 1.

       The Debtor filed a petition for relief under Chapter 7 of the Bankruptcy Code on February

23, 2015. The Court has jurisdiction of this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding under 28 U.S.C. § 157(b).

                                                 2.

       Respondent, Multibank 2009-1 Res-Adc Venture LLC, obtained a judgment against

Debtor on or about the July 22, 2014 in the Superior Court of Fulton County, Georgia, in the

amount of $279,677.04 (Attached as Exhibit A).
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                                                  3.

       Pursuant to 11 U.S.C. § 522 and O.C.G.A. § 44-13-100, Debtor properly claimed as

exempt the property shown on the attached Schedule C. The value of each claimed exemption in

the property shown on Schedule C is equal to or greater than the market value of that property as

reflected on Schedules A and B. Schedules A, B and C are attached hereto as Exhibit B.

                                                  4.

       The Respondent, JP Morgan Chase Bank, National Assocation, obtained judgment

against the Debtor prior to the filing of the instant case. The total amount of the judgment is

$279,677.04. This judgment impairs property which would otherwise be exempt under 11 USC

522 et seq.

       THEREFORE, the Debtor is entitled to entry of an Order avoiding Respondent’s lien

against the exempt property as set forth above.

                                                       Respectfully Submitted

       This the 2nd day of April, 2015                 ________/S/_______________
                                                       Michael R. Rethinger
                                                       Georgia Bar Number 301215
                                                       Attorney for Debtor
241 Mitchell Street, SW
Atlanta, GA 30303
(770) 922-0066
michael@rethingerlaw.com
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         EXHIBIT A
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         EXHIBIT B
                                                                                                                                                              Case 15-53334-crm
                                                                                                                                                              Case
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                                                                                                                                                                      6A) (12/07)
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                                                                                                                                                   In re    Kellie Michael King                                                                   Case No.
                                                                                                                                                                              Debtor                                                                                                 (If known)

                                                                                                                                                                                                   SCHEDULE A - REAL PROPERTY
                                                                                                                                                      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                                                                   tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                                                                   the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                                                                   “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                                                                   “Description and Location of Property.”

                                                                                                                                                     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                   Unexpired Leases.

                                                                                                                                                       If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                                                                   claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”
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                                                                                                                                                      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                                                                   Property Claimed as Exempt.




                                                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                                                               CURRENT VALUE
                                                                                                                                                                                                                                                                                 OF DEBTOR’S
                                                                                                                                                                 DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                        INTEREST IN      AMOUNT OF
                                                                                                                                                                        OF PROPERTY                                   INTEREST IN PROPERTY                                   PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                                                               DEDUCTING ANY        CLAIM
                                                                                                                                                                                                                                                                               SECURED CLAIM
                                                                                                                                                                                                                                                                                OR EXEMPTION



                                                                                                                                                    Single Family Home at: 664 Clover Street,                     Fee Simple subject to                                              36,158.00      179,625.00
                                                                                                                                                    Atlanta, Georgia                                              security deed




                                                                                                                                                                                                                                                 Total                               36,158.00

                                                                                                                                                                                                                                                 (Report also on Summary of Schedules.)
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                                                                                                                                                  In re     Kellie Michael King                                                                 Case No. 15-53334-CRM
                                                                                                                                                                                    Debtor                                                                       (If known)

                                                                                                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                       Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                                                                  place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                                                                  identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                                                                  community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                                                                  individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                  Unexpired Leases.

                                                                                                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                                                                  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                                                                  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).
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                                                                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                                                           N                                                                                           IN PROPERTY,
                                                                                                                                                               TYPE OF PROPERTY                            O                DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                                                                           N                      OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                                                                           E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                                                                    1. Cash on hand.                                       X
                                                                                                                                                    2. Checking, savings or other financial accounts,          Checking Account                                                                               10.00
                                                                                                                                                    certificates of deposit, or shares in banks, savings
                                                                                                                                                    and loan, thrift, building and loan, and homestead         Bank of America
                                                                                                                                                    associations, or credit unions, brokerage houses,
                                                                                                                                                    or cooperatives.


                                                                                                                                                    3. Security deposits with public utilities,            X
                                                                                                                                                    telephone companies, landlords, and others.

                                                                                                                                                    4. Household goods and furnishings, including              Household goods and furnishings (no item exceeding                                          1,500.00
                                                                                                                                                    audio, video, and computer equipment.
                                                                                                                                                                                                               $300.00 value)
                                                                                                                                                    5. Books. Pictures and other art objects,              X
                                                                                                                                                    antiques, stamp, coin, record, tape, compact disc,
                                                                                                                                                    and other collections or collectibles.

                                                                                                                                                    6. Wearing apparel.                                        Misc. Clothing                                                                              1,500.00
                                                                                                                                                    7. Furs and jewelry.                                   X
                                                                                                                                                    8. Firearms and sports, photographic, and other        X
                                                                                                                                                    hobby equipment.

                                                                                                                                                    9. Interests in insurance policies. Name               X
                                                                                                                                                    insurance company of each policy and itemize
                                                                                                                                                    surrender or refund value of each.

                                                                                                                                                    10. Annuities. Itemize and name each issuer.           X
                                                                                                                                                    11. Interests in an education IRA as defined in 26     X
                                                                                                                                                    U.S.C. § 530(b)(1) or under a qualified State
                                                                                                                                                    tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                                                                    Give particulars. (File separately the record(s) of
                                                                                                                                                    any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                                                                    12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                                                                                    pension or profit sharing plans. Give particulars.

                                                                                                                                                    13. Stock and interests in incorporated and            X
                                                                                                                                                    unincorporated businesses. Itemize.
                                                                                                                                                            Case
                                                                                                                                                            Case
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                                                                                                                                                  In re     Kellie Michael King                                                              Case No. 15-53334-CRM
                                                                                                                                                                                    Debtor                                                                    (If known)

                                                                                                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                                                                           N                                                                                 IN PROPERTY,
                                                                                                                                                              TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                           WITHOUT
                                                                                                                                                                                                           N                      OF PROPERTY                                              DEDUCTING ANY
                                                                                                                                                                                                           E                                                                               SECURED CLAIM
                                                                                                                                                                                                                                                                                            OR EXEMPTION


                                                                                                                                                    14. Interests in partnerships or joint ventures.       X
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                                                                                                                                                    Itemize.

                                                                                                                                                    15. Government and corporate bonds and other           X
                                                                                                                                                    negotiable and non-negotiable instruments.

                                                                                                                                                    16. Accounts receivable.                               X
                                                                                                                                                    17. Alimony, maintenance, support, and property        X
                                                                                                                                                    settlement to which the debtor is or may be
                                                                                                                                                    entitled. Give particulars.

                                                                                                                                                    18. Other liquidated debts owing debtor including      X
                                                                                                                                                    tax refunds. Give particulars.

                                                                                                                                                    19. Equitable or future interests, life estates, and   X
                                                                                                                                                    rights or powers exercisable for the benefit of the
                                                                                                                                                    debtor other than those listed in Schedule A - Real
                                                                                                                                                    Property.

                                                                                                                                                    20. Contingent and noncontingent interests in              2014 Federal Tax Refund                                                             772.00
                                                                                                                                                    estate or a decedent, death benefit plan, life
                                                                                                                                                    insurance policy, or trust.

                                                                                                                                                    21. Other contingent and unliquidated claims of        X
                                                                                                                                                    every nature, including tax refunds, counterclaims
                                                                                                                                                    of the debtor, and rights of setoff claims. Give
                                                                                                                                                    estimated value of each.

                                                                                                                                                    22. Patents, copyrights, and other intellectual        X
                                                                                                                                                    property. Give particulars.

                                                                                                                                                    23. Licenses, franchises, and other general            X
                                                                                                                                                    intangibles. Give particulars.

                                                                                                                                                    24. Customer lists or other compilations               X
                                                                                                                                                    containing personally identifiable information (as
                                                                                                                                                    defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                                                                    debtor by individuals in connection with obtaining
                                                                                                                                                    a product or service from the debtor primarily for
                                                                                                                                                    personal, family, or household purposes.

                                                                                                                                                    25. Automobiles, trucks, trailers, and other           X
                                                                                                                                                    vehicles and accessories.

                                                                                                                                                    26. Boats, motors, and accessories.                    X
                                                                                                                                                    27. Aircraft and accessories.                          X
                                                                                                                                                    28. Office equipment, furnishings, and supplies.       X
                                                                                                                                                    29. Machinery, fixtures, equipment, and supplies       X
                                                                                                                                                    used in business.

                                                                                                                                                    30. Inventory.                                         X
                                                                                                                                                    31. Animals.                                           X
                                                                                                                                                           Case
                                                                                                                                                           Case
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                                                                                                                                                                   15-53334-crm
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                                                                                                                                                  In re     Kellie Michael King                                                             Case No. 15-53334-CRM
                                                                                                                                                                                   Debtor                                                                    (If known)

                                                                                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                                                    N                                                                                                  IN PROPERTY,
                                                                                                                                                              TYPE OF PROPERTY                      O                 DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                                                                    N                       OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                                                                    E                                                                                                SECURED CLAIM
                                                                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                                                                    32. Crops - growing or harvested. Give          X
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                                                                                                                                                    particulars.

                                                                                                                                                    33. Farming equipment and implements.           X
                                                                                                                                                    34. Farm supplies, chemicals, and feed.         X
                                                                                                                                                    35. Other personal property of any kind not         Funds garnished from payroll within 90 days of filing                                                556.75
                                                                                                                                                    already listed. Itemize.
                                                                                                                                                                                                        case




                                                                                                                                                                                                                           0       continuation sheets attached        Total                        $      4,338.75
                                                                                                                                                                                                                                   (Include amounts from any continuation
                                                                                                                                                                                                                                     sheets attached. Report total also on
                                                                                                                                                                                                                                           Summary of Schedules.)
                                                                                                                                                              Case
                                                                                                                                                              Case 15-53334-crm
                                                                                                                                                                   15-53334-crm              Doc
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                                                                                                                                                  In re    Kellie Michael King                                                             Case No. 15-53334-CRM
                                                                                                                                                                            Debtor                                                                           (If known)

                                                                                                                                                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                                                    Debtor claims the exemptions to which debtor is entitled under:
                                                                                                                                                    (Check one box)

                                                                                                                                                          11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                                                          $155,675*.
                                                                                                                                                          11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                                                             CURRENT
                                                                                                                                                                                                                 SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                                                              DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                                                                  EXEMPTION                        EXEMPTION                EXEMPTION
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                                                                                                                                                     Checking Account                                OCGA § 44-13-100(a)(6)                                  10.00                      10.00

                                                                                                                                                     Household goods and furnishings (no item        OCGA § 44-13-100(a)(4)                               1,500.00                    1,500.00
                                                                                                                                                     exceeding $300.00 value)

                                                                                                                                                     Misc. Clothing                                  OCGA § 44-13-100(a)(4)                               1,500.00                    1,500.00

                                                                                                                                                     Funds garnished from payroll within 90          OCGA § 44-13-100(a)(6)                                 556.75                     556.75
                                                                                                                                                     days of filing case

                                                                                                                                                     2014 Federal Tax Refund                         OCGA § 44-13-100(a)(6)                                 772.00                     772.00




                                                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                              ) CHAPTER 7
                                    )
KELLIE MICHAEL KING,                ) CASE NO: 15-53334-CRM
                                    )
      Debtor.                       )
___________________________________ )
KELLIE MICHAEL KING,                )
                                    )
      Movant,                       )
                                    )
v.                                  ) CONTESTED MATTER
                                    )
MULTIBANK 2009-1 RES-ADC            )
VENTURE, LLC,                       )
                                    )
     Respondent.                    )
:
          NOTICE OF REQUIREMENT OF RESPONSE TO MOTION TO
       AVOID LIEN ON EXEMPT PROPERTY AND OF TIME TO FILE SAME

       NOTICE IS HEREBY GIVEN that a motion to avoid lien on exempt property pursuant to

11 U.S.C. § 522 has been filed in the above styled case on April 2, 2015.

       NOTICE IS FURTHER GIVEN that, pursuant to Local Rule 6008-2 NDGA, the

Respondent must file a response to the motion within 21 days after service, exclusive of the day

of service, and serve a copy of same on Debtor's Attorney. In the event that no response is timely

filed and served, then the Bankruptcy Court may enter an order granting the relief sought.

       Dated this the 15th day of March, 2011.


                                                    ________/S/_______________
                                                    Michael R. Rethinger
                                                    Georgia Bar Number 301215
                                                    Attorney for Debtor
72 Spring Street, SW
Atlanta, GA 30303
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                                      Certificate of Service

       The undersigned hereby certifies that the below listed parties have been served with a true
and correct copy of the attached MOTION TO AVOID JUDICIAL LIEN OF Multibank 2009-1
Res-Adc Venture, LLC and NOTICE OF REQUIREMENT OF RESPONSE TO MOTION TO
AVOID LIEN ON EXEMPT PROPERTY AND OF TIME TO FILE SAME by placing copies of
same in a properly addressed envelope with adequate postage thereon and depositing same in the
United States Mail.

                                      Tamara Miles Ogier
                                       Chapter 7 Trustee
                               Ogier, Rothschild & Rosenfeld PC
                                     170 Mitchell St. S.W.
                                       Atlanta, GA 30303

                                            U.S. Trustee
                                     Office of the U.S. Trustee
                                             Suite 362
                                       75 Spring Street, SW
                                        Atlanta, GA 30303

                            Multibank 2009-1 Res-Adc Venture, LLC
                                      c/o Jones & Walker
                                      One Midtown Plaza
                                           Suite 1030
                                   1360 Peachtree Street, NE
                                      Atlanta, GA 30309

       This the 3rd day of April, 2015               By:

                                                     ________/S/_______________
                                                     Michael R. Rethinger
                                                     Georgia Bar Number 301215
                                                     Attorney for Debtor
241 Mitchell Street, SW
Atlanta, GA 30303
(770) 922-0066
